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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF CONNECTICUT
WILLIAM MCGREEVY, ASHWIN GOWDA,
TRANSLUNAR CRYPTO, LP, CHRISTOPHER
BUTTENHAM, REMO MARIA MORONE,
DOMINIC MACRI, LARRY WIENER, DEREK                     Case No. 3:23-cv-00082-SRU
WILSON, DANIEL AMELI, and LEE
JACOBSON, Individually and on Behalf of All
Others Similarly Situated,                             Hon. Stefan R. Underhill

                      Plaintiffs,

v.

DIGITAL CURRENCY GROUP, INC., BARRY
SILBERT, MICHAEL KRAINES, MARK
MURPHY, SOICHIRO “MICHAEL” MORO, and
DERAR ISLIM,

                      Defendants.


                NOTICE OF DEFENDANT MICHAEL KRAINES’
        MOTION TO DISMISS PLAINTIFFS’ THIRD AMENDED COMPLAINT

       PLEASE TAKE NOTICE that, pursuant to Rules 12(b)(6) and 9(b), Defendant Michael

Kraines, by and through undersigned counsel, respectfully moves this Court to dismiss Plaintiffs’

Third Amended Complaint [Dkt. No. 171] for failure to state a claim upon which relief can be

granted (the “Motion”). Mr. Kraines hereby adopts each of the arguments in the Memorandum of

Law filed on September 30, 2024, by Defendants Digital Currency Group, Inc., Barry Silbert,

and Mark Murphy in support of their motion to dismiss (the “DCG Memorandum of Law” [Dkt.

No. 177]). In support of this Motion, Mr. Kraines relies upon: (i) the accompanying

memorandum of law; (ii) the DCG Memorandum of Law; and (iii) any other written or oral

argument as may be requested or permitted by the Court.




                              ORAL ARGUMENT REQUESTED
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Dated: September 30, 2024          Respectfully submitted,
                                   /s/ Richard Donoghue

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                                   Counsel for Defendant Michael Kraines




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                                CERTIFICATE OF SERVICE

       I, Richard Donoghue, hereby certify that this document filed through the ECF system will

be sent electronically via the ECF system to the registered participants as identified on the Notice

of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered

participants on this 30th day of September, 2024.

                                                             /s/ Richard Donoghue
                                                             Richard Donoghue




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